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               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

MEMBERSELECT INSURANCE               )
COMPANY, a/s/o CHRIS AND RENATA      )
LOIOTILE,                            )
                                     )
                                     )               Case No. 1:13-CV-4097
             Plaintiff,              )
                                     )
      v.                             )
                                     )
ELECTROLUX HOME PRODUCTS, INC., a )
Delaware corporation, SEARS HOLDING  )
CORPORATION, a Delaware corporation, )
                                     )
             Defendants.             )
                                     )

                 JOINT MOTION FOR AGREED PROTECTIVE ORDER

         NOW COME Plaintiff MEMBERSELECT INSURANCE COMPANY, a/s/o CHRIS

AND RENATA LOIOTILE, and Defendants ELECTROLUX HOME PRODUCTS, INC., and

SEARS HOLDING CORPORATION, all of which jointly move this Honorable Court to enter a

protective order pursuant to Rule 26(c) of the Federal Rules of Civil Procedure regarding

documents and other material to be produced by the Parties in this matter. In support of this

motion, Plaintiff and Defendants state as follows:

         1.    All Parties agree that in litigating this case certain information and documents

may be sought and disclosed, which may include confidential, competitively sensitive and

proprietary information.

         2.    All Parties agree that good cause exists for the entry of a protective order based

on the nature of the documents and information that may be produced in this case.

         3.    To control the disclosure of this confidential information, the Parties have agreed

to the terms of the proposed Agreed Protective Order, based upon the Northern District's model

order.
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       4.       The proposed Order is forward concurrently with this Motion to Judge Aspen’s

proposed order e-mail box. Per the local rule, the forwarded draft Order includes a redline and

clean version reflecting the parties' proposed edits.

       WHEREFORE, Plaintiff MEMBERSELECT INSURANCE COMPANY, a/s/o CHRIS

AND RENATA LOIOTILE, and Defendants ELECTROLUX HOME PRODUCTS, INC., and

SEARS HOLDING CORPORATION, respectfully request that this Honorable Court enter the

Agreed Protective Order proposed by the Parties.

Dated: October 16, 2014                                 Respectfully submitted,



By: /s/ Ethan E. White                          By: /s/ Jennifer H. Tedesco
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